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 1   LAW OFFICES OF ALAN ELLIS
     ALAN ELLIS
 2
     PA State Bar No.: 17430
 3   1120 Nye Street, Suite 300
     San Rafael, CA 94901
 4
     Telephone: (415) 256-9775
 5   Fax:         (415) 256-9772
     E-Mail:      AELaw1@aol.com
 6
 7   Attorney for Defendant
     GARRET GRIFFITH GILILLAND, III
 8
 9
                  IN THE UNITED STATES OF DISTRICT COURT FOR THE
10
                              EASTERN DISTRICT OF CALIFORNIA
11
12
     UNITED STATES OF AMERICA,                       CR. No. S-08-376 EJG
13
14                               Plaintiff,          STIPULATION AND ORDER TO
                                                     CONVERT THE PRESENT DATE SET
15                   v.                              FOR SENTENCING TO A STATUS
16                                                   CONFERENCE TO SCHEDULE A
     GARRET GRIFFITH GILILLAND, III                  FUTURE DATE FOR SENTENCING
17   ,
18
                              Defendant.
19
20                                            STIPULATION
21           Plaintiff, United States of America, by and through its counsel, Russell L.
22   Carlberg, and defendant Garret Griffith Gilliland, III, by and through his counsel, Alan
23   Ellis, agree and stipulate that on October 28, 2011, the defendant is currently scheduled
24   to be sentenced. Because the parties are working on matters relevant to sentencing
25   including but not limited to continued cooperation that will not be completed before
26   October 28, 2011, the parties agree that the October 28, 2011, date should be converted
27   to a status conference to schedule a future date for sentencing.   The Probation Officer
28   assigned to this matter, Hugo Ortiz, has been advised and has no objection to this
     request.


     STIPULATION AND [PROPOSED] ORDER          -1-
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 1          Accordingly, the parties respectfully request the Court adopt this proposed
 2   stipulation.
 3
     IT IS SO STIPULATED.
 4
 5   Dated: August 25, 2011                            /s/ Alan Ellis
 6                                                     ALAN ELLIS
                                                       Attorney for Defendant
 7                                                     GARRET GRIFFITH GILILLAND, III
 8
                                                       BENJAMIN B. WAGNER
 9                                                     United States Attorney
10
11   Dated: August 25, 2011                   By:      /s/ Alan Ellis for
12                                                     RUSSELL L. CARLBERG
                                                       Assistant U.S. Attorney
13                                                     Attorney for Plaintiff
14
15
16
                                        [PROPOSED] ORDER
17
            For the reasons set forth in the accompanying stipulation of counsel, on October
18
     28, 2011, the matter will on calendar for a status conference to schedule a new date for
19
     sentencing, and not on calendar for sentencing.
20
21
22
     IT IS SO ORDERED
23
24
25
     Dated: August 25, 2011                            /s/ Edward J. Garcia
26                                                     HON. EDWARD J. GARCIA
                                                       United States District Court Judge
27
28



     STIPULATION AND [PROPOSED] ORDER       -2-
